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                                          Pg 1 of 1
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Honorable Shelley C. Chapman                                              Nat Francis, Snr. Investigator
U.S. Bankruptcy Judge
Southern District of New York
One Bowling Green, Courtroom 623
New York, NY 10004-1408

       Re:     In re: MICHAEL DAVID GREENFIELD a.k.a. MICHAEL BEN-
               ARI (Case No. 21-11411) (SCC)

Dear Judge Chapman,

        I write on behalf of the Foreign Representative in the above-captioned matter to modify
the relief sought in the Motion to Confirm the Foreign Representative’s Authority to Repatriate
Assets to Israel (Dkt. 21) (the “Motion”).

         In the Motion, the Foreign Representative sought to affirm his authority to realize, take
control of, and repatriate to Israel: (1) all Non-Reserved Assets, identified and held in an escrow
account controlled by Seiden Law Group LLP, counsel of record for the Foreign Representative,
and all Non-Reserved and currently unidentified assets, which upon investigation, the Foreign
Representative may locate and identify in the future; and (2) all Reserved Assets, identified and
unidentified, conditional upon the agreement of the U.S. Department of Justice (the “DOJ”).
Pursuant to a request by the DOJ, the Foreign Representative hereby without prejudice withdraws
the relief requested in the Motion as to the identified and unidentified Reserved Assets. However,
the Foreign Representative maintains his request for relief in the Motion affirming his authority
to realize, take control of, and repatriate to Israel the Non-Reserved Assets.

       The DOJ has no objection to the relief requested in the Motion with the modification
described above. The Amended Proposed Order, attached herein as Exhibit A, reflects this
modification.
                                                                Very truly yours,

                                                                     /s/ Jake Nachmani
                                                                     Jake Nachmani
 CC: William I. Friedman
     Trial Attorney, International Unit
     Money Laundering & Asset Recovery Section
     U.S. Department of Justice, Criminal Division
